 Case: 5:17-cv-00485-KKC Doc #: 18 Filed: 06/21/18 Page: 1 of 1 - Page ID#: 90



                                                                      Eastern District of Kentucky
                           UNITED STATES DISTRICT COURT                       FILED
                           EASTERN DISTRICT OF KENTUCKY
                                LEXINGTON DIVISION                            JUN 2 1 2018
                                                                                 AT LEXINGTQN
ACTION NO.: 5:17-cv-485-KKC                                                     ROBERT R. C~R
                                                                           Ct.ERK U.S. OISTRICT,COURT
RE: 624 Williams Road, Nicholasville, Kentucky 40356

UNITED STATES OF AMERICA                                                           PLAINTIFF

vs.                                       ORDER

JOHN L. WILLIAMS; and

LASHONNA WILLIAMS
A/K/ A LASHONNA T. WILLIAMS                                                  DEFENDANTS

                                      *   *      *     *   *
       Matthew R. Malone having been appointed Warning Order Attorney for John L.

Williams, in this action on May 7, 2018 and having filed his Report and Motion for

Attorney fees herein, IT IS HEREBY ORDERED AS FOLLOWS:

       1.       Said Warning Order Report is hereby accepted by the Court and Matthew

R. Malone is discharged from any further responsibility in this action.

       2.       Payment in the amount of $237.28 ($200.00 for attorney services, plus $37.28

for expenses), shall be made to Matthew R. Malone for his investigation and report in the

above matter.

This   ~    /   day   of~                  I   2018,




                                           United    te istrict Judge
                                           Eastern District of Kentucky,
                                           Lexington Division
